       Case 1:20-cv-03010-APM         Document 1284-2      Filed 05/09/25    Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




  UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
                                                   Case No. 1:20-cv-03010-APM
  v.
                                                   HON. AMIT P. MEHTA
  GOOGLE LLC,

                        Defendant.


  STATE OF COLORADO, et al.,

                        Plaintiffs,
                                                   Case No. 1:20-cv-03715-APM
  v.
                                                   HON. AMIT P. MEHTA
  GOOGLE LLC,

                        Defendant.


                                      [PROPOSED] ORDER

Upon consideration of the Motion for Leave to File Amicus Brief by News/Media Alliance, it is

HEREBY ORDERED that the Motion for Leave to File is GRANTED.



Dated:

                                      The Honorable Amit P. Mehta

                                      District Judge
